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EXHIBIT 4
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COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE
HARRISBURG, PENNSYLVANIA
17120

Right-to-Know Law Office
Room 306, North Office Building
401 North Street

Harrisburg, PA 17120-0500
Fax: 717-214-9899

Mailing Date: October 11, 2024

Eric
eric@citizenag.org

RE: Right-to-Know Law Request No. 2024-604
Dear Eric:

On October 4, 2024, the Department of State Right to Know Office received your request for
information pursuant to the Pennsylvania Right-to-Know Law, 65 P.S. §§ 67.101, et seq. (RTKL),
wherein you requested: “information and records related to your compliance with Section 8 of the
National Voter Registration Act and its relevant provisions that require inactive voters who have
not voted for two (2) federal election cycles to be removed from Pennsylvania’s voter rolls.

As such, I specifically request the following: (1) Records and/or data that reflect the total number
of confirmation notices sent to Pennsylvania voters from November 7, 2018, through November
3, 2020; (2) Records and/or data that reflect the total number of responses to the aforesaid notices
you or the State of Pennsylvania received confirming the recipient is an eligible voter;
(3) Records and/or data that reflect the total number of voters who were sent confirmation notices
between November 7, 2018, and November 3, 2020, who did not respond to the notice; (4) Records
and/or data that reflect the total number of voters who were sent confirmation notices between
November 7, 2018, and November 3, 2020, who did not respond to the notice but voted on
November 3, 2020; (5) Records and/or data that reflect the total number of voters who were sent
confirmation notices between November 7, 2018, and November 3, 2020, who did not respond to
the notice and did not vote on November 3, 2020, but did vote on November 8, 2022; (6) Records
and/or data that reflect the total number of voters who were sent confirmation notices between
November 7, 2018, and November 3, 2020, who did not respond to the notice, did not vote on
November 3, 2020, and did nat vote on November 8, 2022;
(7) Records and/or data that reflect the total number of voters who were sent confirmation notices
between November 7, 2018, and November 3, 2020, who did not respond to the notice, did not
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vote on November 3, 2020, did not vote on November 8, 2022, and have been removed from
Pennsylvania’s voter rolls at any time from November 9, 2022, through present; and (8) Records
and/or data that reflect the total number of voters who were sent confirmation notices between
November 7, 2018, and November 3, 2020, who did not respond to the notice, did not vote on
November 3, 2020, did not vote on November 8, 2022, and have not been removed from
Pennsylvania’s voter rolls as of present.”

Under the RTKL, a written response to your request is due on or before October 11, 2024.

This is an interim response, not a final response, to your request. Under the provisions of 65 P.S.
§67.902(b)(2), you are hereby notified that your request is being reviewed pursuant to
§67.902(a)(4), and the Department of State will require up to an additional 30 days, i.e., November
12, 2024, in which to provide a final written response to your request.

The extent and nature of your request precludes a response within the five-day time period. Due
to this reason, the total for the estimated or actual fees that will be owed when the records become
available will be included in our subsequent response.

Many of the records that might possibly be included in your request may also be exempt under
section 708(b) of the RTKL. The Department of State reserves the right to review and assert any
such exemptions.

Should you have any questions, please feel free to contact me.

Respectfully,

Janelle 8S. Hawthorne

Janelle $8. Hawthorne, J.D.
Agency Open Records Officer
306 North Office Building
401 North Street

Harrisburg, PA 17120
717-317-5340
